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                                 UNITED STATES DISTRICT COURT

                                           DISTRICT OF NEW JERSEY



   UNITED STATES OF AMERICA.

                                                          Cr. No. IO-633(SRC)
                                     Plaintiff.

                                    V.

                                                            ORDER MODIFYING
                                                          CONDITIONS OF RELEASE
  ZBTGNIEW CICHY


                                         Defendant.



         THIS MATTER having been opened to the Court by defendan
                                                                            t. Zbigniew Cichy. through
 his attorney Michael N. Pedicini, Esq.. in the presence of and with
                                                                        the consent of the United States
 of America, (Matthew Beck. Esq.. Assistant United States Atto
                                                                        rney appearing) tbr an Order
 modifying the defendants conditions of release so as to perm
                                                              it Defendan    t to purchase supplies and
 or material one day per week with prior notice to Pre-Trial Serv
                                                                    ices and provide proof of purchase
 to Pre-Trial Services as requested by Pre-Trial Services and
                                                              the Court having considered the matter
and for good and sufficient cause shown:


                                   1••

        IT IS on this        I                day of   DECEMBER, 2010;



        ORDERED that Defendant be permitted to purchase
                                                                  supplies and or material one day per
week with prior notice to Pre-Trial Services: and it is further
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         ORDERED that Defendant shall provide to Pre-Trial Services proo
                                                                         f of purc       hase as requested
 by Eke-Trial Services; and ii is further

         ORDERED that Defendant Ania Nowak shaH remain with
                                                                               in range of the electronic
 monitoring device [or at the law offices of her defense counsel]
                                                                    while Defendant Zbigniew Cichy is
 involved with the purchasing of supplies and materials:
                                                           and it is further
         ORDERED that all other conditions of release heretofor
                                                                e imposed shall       remain in full force
 and effect until further Order of this Court.


                                                            .




                                                 it6NORABLE STANLEY R. CHESLER
                                                 UNITED STATES DISTRICT JUDGE



 I hereby consent to the form
 and entry of the within Order.
